Case 19-10683-JNP       Doc 44    Filed 01/10/20 Entered 01/10/20 20:44:11        Desc Main
                                  Document     Page 1 of 4
  1    ALDRIDGE PITE, LLP
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  3    Telephone: (858) 750-7600
       Facsimile: (619) 590-1385
  4
       Agent for Bank of New York, as Trustee for the Certificateholders CWABS, Inc., Asset-
  5    Backed Certificates, Series, 2004-6

  6

  7

  8
                                 UNITED STATES BANKRUPTCY COURT
  9
                          DISTRICT OF NEW JERSEY - CAMDEN DIVISION
 10
       In re                                            Case No. 19-10683-JNP
 11
       JASON M. MARTINEZ and MEGAN E.                   Chapter 13
 12    MARTINEZ,
                                                        WITHDRAWAL OF NOTICE OF
 13                    Debtor,                          MORTGAGE PAYMENT CHANGE

 14
               Bank of New York, as Trustee for the Certificateholders CWABS, Inc., Asset-Backed
 15
      Certificates, Series, 2004-6 ("Creditor") hereby withdraws the Notice of Mortgage Payment
 16
      Change (“Payment Change Notice”) previously filed on 11/08/2019 in connection with Claim No.
 17
      4 in the above referenced matter, without prejudice. Creditor filed the presently withdrawn
 18
      Payment Change Notice in error.
 19
               Any fees, costs, or other charges incurred by Creditor in connection with the Payment
 20
      Change Notice or this withdrawal have not been added to the mortgage loan account that is the
 21
      subject of the Payment Change Notice.
 22
                                                  ALDRIDGE PITE, LLP
 23

 24
      Dated: January 10, 2020                            /s/ Jenelle C. Arnold
 25                                               JENELLE C. ARNOLD
                                                  AGENT FOR BANK OF NEW YORK, AS
 26                                               TRUSTEE FOR THE
                                                  CERTIFICATEHOLDERS CWABS, INC.,
 27                                               ASSET-BACKED CERTIFICATES, SERIES,
                                                  2004-6
 28

                                         -1-              CASE NO. 19-10683-JNP
                  WITHDRAWAL OF NOTICE OF MORTGAGE PAYMENT CHANGE
   Case 19-10683-JNP            Doc 44
                             Filed 01/10/20 Entered 01/10/20 20:44:11                            Desc Main
                            Document
    UNITED STATES BANKRUPTCY COURT        Page 2 of 4
    DISTRICT OF NEW JERSEY

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   E-mail: JArnold@aldridgepite.com

   Agent for Bank of New York, as Trustee for the
   Certificateholders CWABS, Inc., Asset-Backed Certificates,
   Series, 2004-6

   In Re:                                                        Case No.:       19-10683-JNP

   JASON M. MARTINEZ and MEGAN E. MARTINEZ,                      Chapter:         13

                                                                 Adv. No.:

                                                                 Hearing Date:

                                                                 Judge:           Honorable Jerrold N. Poslusny Jr.


                                    CERTIFICATION OF SERVICE

   1.       I, Courtney R. Baker :

                represent the         in the above-captioned matter.

                am the secretary/paralegal for         , who represents the

                             in the above captioned matter.

                am the                                  in the above case and am representing myself.

                See Attachment Page

   2.       On January 10, 2020       , I sent a copy of the following pleadings and/or documents to the

            parties listed in the chart below:

            Withdrawal of Notice of Mortgage Payment Change

3. I hereby certify under penalty of perjury that the above documents were sent using the mode of

   service indicated.

   Dated:     January 10, 2020                                  /s/Courtney R. Baker
                                                                Signature
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Case 19-10683-JNP         Doc 44    Filed 01/10/20 Entered 01/10/20 20:44:11                  Desc Main
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   am the secretary/paralegal for       Jenelle C. Arnold       , agent for the Bank of New York, as Trustee for
the Certificateholders CWABS, Inc., Asset-Backed Certificates, Series, 2004-6, secured creditor in the above
captioned matter.
